Dear Mr. Daly:
This office is in receipt of your opinion request directed to Attorney General Richard P. Ieyoub.  The request has been assigned to me for research and reply.
In Act 164 of 1984 the legislature enacted a local or special law to create and provide for a system of civil service for the municipal police employees of Mandeville.  Presumably, at this time the population of Mandeville was less than 7,000.  You relate as a result of the latest Federal Census, the municipality of Mandeville was reported as having attained a population of 7,083.  The provisions of LSA-R.S. 33:2531 (Act282 of 1964) establish fire and police civil service law for those municipalities which have a population of not less than seven thousand and not more than thirteen thousand.  You inquire whether this increase in the population of the municipality would now invoke the provisions of LSA-R.S. 33:2531, et. seq.
This office is of the opinion that the Legislature has acted to create a civil service system for the municipal police employees of Mandeville by virtue of Act 164 of 1984.  Act 164 remains controlling until the Legislature removes its application by subsequent legislation, regardless of the increase of population.
Further, Act 164 of 1984 was enacted subsequent to Act 282 of 1964. LSA-R.S. 24:176 governs the repeal of laws and states:
     "A.  Unless otherwise specifically provided therein, all laws or parts of laws in conflict with a provision of a law subsequently enacted by the legislature are repealed by the law subsequently enacted.
     B.  This Section shall apply to acts of the legislature affecting general, and local and special laws, and statutes of the state, including the Louisiana Revised Statutes of 1950, the Civil Code of the state of Louisiana, the Louisiana Code of Civil Procedure, the Louisiana Code of Criminal Procedure, the Louisiana Code of Evidence, and the Louisiana Code of Juvenile Procedure."
Language in Act 164 of 1984 indicates legislative intent to supplant the provisions of LSA-R.S. 33:2531, et. seq., insofar as applied to the municipality of Mandeville.  Section 7 of Act 164 provides:
     "This Act shall not be superseded or be rendered ineffective by any general statute affecting municipal police employees in matters of classified civil service for the city of Mandeville, and this Act shall not be repealed or superseded by any such general statute hereafter enacted unless such general statute specifically expresses the intent of the legislature to repeal or supersede this Act."
In summary, the provisions of Act 164 of 1984 continue to prevail regarding the system of civil service for the municipal police employees of the city of Mandeville, absent any other recent legislation to the contrary.
We hope this interpretation of the law will be helpful to you. Should you require further assistance, please contact our office.
Very truly yours,
                           RICHARD P. IEYOUB Attorney General
                           BY: KERRY L. KILPATRICK Assistant Attorney General
RPI/KLK/0133E
OPINION NUMBER 91-134
March 18, 1991
71-1-1-MUNICIPAL FIRE AND POLICE CIVIL SERVICE LSA-R.S. 33:2531
  Police and Fire Civil Service System ceases to exist when municipal population slips below statutory minimum, but may be grandfathered by legislature; population determined by final census report only.
  Mr. John W. Lutes Alderman City of Winnfield P. O. Box 588 Winnfield, LA  71483-0588